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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

JOHNNY LEE SADDLER                                                                    PETITIONER

v.                                                                     NO. 1:21-CV-00160-SA-DAS

BURL CAIN and LYNN FITCH                                                            RESPONDENTS

                                ORDER SEALING DOCUMENTS

       As the instant petition for a writ of habeas corpus and supporting documents reveal the name

of minor children and victims of crimes which are sexual in nature, as well as photos of the minor

children, the Clerk of the Court is DIRECTED to restrict access to these documents to parties only.

       SO ORDERED, this, the 25th day of October, 2021.



                                               /s/ David A. Sanders _______________
                                               UNITED STATES MAGISTRATE JUDGE
